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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                      Case No. 4:23-cv-04258
Ledge Lounger, Inc.,
                                                      Jury Trial Demanded
                      Plaintiff,

        v.

Global Lift Corp.
  d/b/a Global Pool Products,

                      Defendant.

      PLAINTIFF’S CERTIFICATE OF FINANCIALLY INTERESTED ENTITIES

        The Court’s November 13, 2023 Order for Conference and Disclosure of Interested Parties

directed each party to file:

        a certificate listing all persons, associations of persons, firms, partnerships,
        corporations, affiliates, parent corporations, or other entities that are financially
        interested in the outcome of this litigation.

ECF No. 4, at 2.

         Accordingly, Plaintiff Ledge Lounger, Inc. identifies the following entities:

         Ledge Lounger, Inc.
         SP L2 Holdings LLC



Dated: November 27, 2023                      Respectfully submitted,

                                              BANNER & WITCOFF, LTD.

                                              By: /s/ Scott A. Burow
                                                 Scott A. Burow (admitted in the Southern
                                                 District of Texas)
                                                 Attorney-In-Charge
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                                                 Southern District of Texas Bar No. 3468321
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                                 ATTORNEYS FOR PLAINTIFF
                                 LEDGE LOUNGER, INC.




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                                   CERTIFICATE OF SERVICE


       I certify that on November 27, 2023, a true and accurate copy of PLAINTIFF’S

CERTIFICATE OF FINANCIALLY INTERESTED ENTITIES was served on the following

individuals via federal express.

       Joshua Steinman
       1330 Pigeon Road
       Bad Axe, Michigan 48413




                                                  /s/ Scott A. Burow
                                                  Scott A. Burow
                                                  Attorney for Plaintiff




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